         Case 1:18-cv-10225-MLW Document 425 Filed 11/08/19 Page 1 of 3



                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


 LILIAN PAHOLA CALDERON JIMENEZ
 and LUIS GORDILLO, et al.,

 Individually and on behalf of all others
 similarly situated,
                                                               No. 1:18-cv-10225-MLW
                   Plaintiff-Petitioners,

        v.

 KEVIN K. McALEENAN, et al.,

                   Defendants-Respondents.


                             PETITIONERS’ UNOPPOSED MOTION
                               FOR ADDITIONAL REDACTIONS

       Pursuant to this Court’s October 18, 2019 Order regarding redaction requests for the

Transcript of Motion Hearing held on October 11, 2019, Dkt. 412, and in accordance with

Federal Rule of Civil Procedure 5.2, the July 30, 2019 Stipulated Protective Order, Dkt. 316, and

the Court’s August 7, 2019 Order, Dkt. 338, Petitioners submit the following request for

additional redactions regarding the Transcript of Motion Hearing held on October 11, 2019 that

will be made available on PACER, move to seal the below identified information to the extent it

is in the transcript available at the Court’s public terminal, and request leave to file under seal the

accompanying memorandum describing the reasons for their proposed redactions, and Exhibit A

attached thereto.

       For the reasons explained in the accompanying memorandum filed under seal, Petitioners

request additional redactions from the public transcript of the October 11, 2019 hearing at the

following lines:
      Case 1:18-cv-10225-MLW Document 425 Filed 11/08/19 Page 2 of 3




                              Transcript Cite

                              124:11

                              133:25-134:5

                              135:22-136:10

                              137:4-6

                              137:11-13


     Respectfully submitted this 8th day of November, 2019.


                                                 /s/ Colleen M. McCullough
Matthew R. Segal (BBO # 654489)
Adriana Lafaille (BBO # 680210)                  Kevin S. Prussia (BBO # 666813)
AMERICAN CIVIL LIBERTIES UNION                   Michaela P. Sewall (BBO # 683182)
FOUNDATION OF MASSACHUSETTS,                     Shirley X. Li Cantin (BBO # 675377)
INC.                                             Jonathan Cox (BBO # 687810)
211 Congress Street                              Colleen M. McCullough (BBO # 696455)
Boston, MA 02110                                 Matthew W. Costello (BBO # 696384)
(617) 482-3170                                   WILMER CUTLER PICKERING
                                                   HALE AND DORR LLP
Kathleen M. Gillespie (BBO # 661315)             60 State Street
Attorney at Law                                  Boston, MA 02109
6 White Pine Lane                                Telephone: (617) 526-6000
Lexington, MA 02421                              Facsimile: (617) 526-5000
(339) 970-9283                                   kevin.prussia@wilmerhale.com
                                                 michaela.sewall@wilmerhale.com
                                                 shirley.cantin@wilmerhale.com
                                                 jonathan.cox@wilmerhale.com
                                                 colleen.mccullough@wilmerhale.com
                                                 matthew.costello@wilmerhale.com

                                                 Attorneys for Petitioners




                                             2
        Case 1:18-cv-10225-MLW Document 425 Filed 11/08/19 Page 3 of 3



           CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       I certify that, in accordance with Local Rule 7.1(a)(2), counsel for Petitioners conferred

with counsel for Respondents on November 7 and 8, 2019 in an attempt to resolve the issues

raised in this motion. Respondents do not oppose this motion.

                                                    /s/ Colleen M. McCullough
                                                    Colleen M. McCullough




                                                3
